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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA

DIGITAL VERIFICATION               §
SYSTEMS, LLC,                      §
                                   §
      Plaintiff,                   §           Case No: 8:21-cv-02490-MSS-AAS
                                   §
vs.                                §           PATENT CASE
                                   §
ADEMERO, INC.,                     §
                                   §
      Defendant.                   §
__________________________________ §


            NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Plaintiff Digital Verification Systems, LLC (“Plaintiff” and/or “DVS”) files

this Notice of Voluntary Dismissal With Prejudice pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be

dismissed by the plaintiff without order of court by filing a notice of dismissal at

any time before service by the adverse party of an answer. Accordingly, Plaintiff

hereby voluntarily dismisses this action against Defendant Ademero, Inc. with

prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and

costs.




NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE                                       |1
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 Dated: March 10, 2022.               Respectfully submitted,

                                      /s/Barbra A. Stern
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                                      ATTORNEY(S) FOR PLAINTIFF


                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of the foregoing was filed
electronically and served by operation of the Court’s electronic filing system on
March 10, 2022. Parties may access the foregoing through the Court’s system.

                                      /s/Barbra A. Stern
                                      Barbra A. Stern, Esquire




NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE                                     |2
